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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       Criminal No. 21-cr-204
                                              :
MATTHEW BLEDSOE,                              :       Honorable Chief Judge Beryl A. Howell
ERIC CHASE TORRENS,                           :
BLAKE AUSTIN REED, and                        :
JACK JESSE GRIFFITH,                          :
also known as “Juan Bibiano,”                 :
                                              :
                       Defendants.            :

 UNITED STATES’ MOTION OPPOSITION TO DEFENDANT BLEDSOE’S MOTION
              TO MODIFY CONDITIONS OF RELEASE (R. 52)

       The United States of America opposes defendant Matthew Bledsoe’s motion to modify his

conditions of release, specifically the removal of the GPS location-monitoring tether.

       Mr. Bledsoe is charged in this case with 18 U.S.C. § 1752(a)(1) (Entering and Remaining

in a Restricted Building); 18 U.S.C. § 1752(a)(2) (Disorderly and Disruptive Conduct in a

Restricted Building); 40 U.S.C. § 5104(e)(2)(D) (Violent Entry and Disorderly Conduct in a

Capitol Building); 40 U.S.C. § 5104(e)(2)(G) (Parading, Demonstrating, or Picketing in a

Capitol Building) and 18 U.S.C. 1512(c) (Obstruction). Indictment, R. 23.

       While Mr. Bledsoe has complied with release condition so far, the United States has

concerns about the safety of the community in light of Mr. Bledsoe’s history and characteristics.

In addition to the allegations against him in this case, Mr. Bledsoe has had a number of police

contacts and convictions, according to the pretrial services report.

       For example, he has been arrested, but not convicted, for domestic assault in October

2020. The allegations were serious—he was accused of breaking down the door of a residence,

throwing things, chasing the victim, picking up the victim by the throat, and slamming the victim
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to the floor in front of a minor child.

        Additionally, in June 2014, he also had police contact due to an alleged domestic assault

with the same victim. The victim alleged that he grabbed her by her throat, punched her in the

face, and repeatedly kneed her in the stomach and thighs while she was eight months pregnant.

In that case, the victim believed that he was drunk and/or high when he assaulted her.

        Though Bledsoe was not convicted in either case, the nature of the allegations are such

that the government cannot agree to the removal of the GPS location-monitoring tether.

Domestic violence cases often involve a cycle of power and control that perpetuate abuse and

prevent victims from pursuing charges, and these cases are frequently dismissed prior to

conviction for that reason. The lack of a conviction here does not alleviate the government’s

concern about Mr. Bledsoe’s police contacts.

        Furthermore, Mr. Bledsoe has several convictions for alcohol and drug-related matters in

2002, 2005, and 2008. He also has two arrests for driving under the influence from 2006 and

2009. With respect to drug use, he tested positive for marijuana. It should be noted—as it relates

to his level of candor before the Court—he did not disclose his marijuana use to pretrial services.

        With respect to the pending investigation, agents reviewed the contents of one of his

phones pursuant to a search warrant. On January 3, 2021 he wrote “I am a proud boy, trying to

join officially right now.” Considering his history of poor judgment, irresponsible alcohol and

drug use, and his actions with respect to January 6, 2021, the government opposes his request to

remove his tether.

        The GPS location monitoring tether is a minimally invasive condition that provides some

comfort and safety to the community. Mr. Bledsoe has a moving company. To date, Mr. Bledsoe

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has been able to continue work, even with the location monitoring. This Court has approved

travel requests so that he would be able to take jobs requiring his out-of-state travel. Mr.

Bledsoe’s embarrassment about the ankle monitor is not a sufficient reason, in the government’s

eyes, to increase the risk of danger to the community.

                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              Acting United States Attorney
                                              DC Bar No. 415793


                                       By:    /s/ Mitra Jafary-Hariri
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